   Case 2:12-cr-00104-MHT-TFM Document 384 Filed 11/27/13 Page 1 of 6




  IN THE DISTRICT COURT OF THE UNITED STATES FOR THE

     MIDDLE DISTRICT OF ALABAMA, NORTHERN DIVISION


UNITED STATES OF AMERICA           )
                                   )
    v.                             )    CRIMINAL ACTION NO.
                                   )      2:12cr104-MHT
PAUL HULSE, SR.,                   )           (WO)
STEVEN P. MOCK, and                )
FRANK J. TEERS                     )

                   LOSS CALCULATION OPINION

                               PART I

    The court has concluded that, under the circumstances

of this case, actual loss is the appropriate loss figure

for use in calculating the guidelines range.

    First,    as   the   court    noted    yesterday,      it   is      not

appropriate to stack the value of all the potential loans

for the purposes of calculating intended loss.                  This is

because, while the defendants clearly sought out a number

of loans, it would be speculative to assume that they

intended to take out all of the potential loans.                 It may

well be that the defendants only sought to take out one

loan at a time, and would repay any past loan with funds

from the single current loan; indeed, the defendants’
   Case 2:12-cr-00104-MHT-TFM Document 384 Filed 11/27/13 Page 2 of 6




conduct with regard to the loans they actually obtained

supports that they did not intend to stack loans.

    These circumstances makes the instant case unlike

United States v. Manoocher Nosrati-Shamloo, 255 F.3d

1290, 1291 (11th Cir. 2001), cited by the government.                   In

that case, the Eleventh Circuit upheld an intended loss

calculation    that    imputed     the   total     credit    limit      of

fraudulently obtained credit cards as intended loss.                    It

was reasonable to assume that the defendants in that case

intended to use each fraudulent card up to the credit

limit, independent of the others.                Here, it is more

likely that the defendants only sought to have only one

loan out at a time, using the proceeds to pay off other

loans.   In any event, it would be speculative to conclude

otherwise.

    Second, treating the total amount of any loan, or

proposed loan, as the intended loss does not reasonably

reflect the role of collateral in this case.                Defendants

took a large portion of the loan proceeds that they



                                   2
   Case 2:12-cr-00104-MHT-TFM Document 384 Filed 11/27/13 Page 3 of 6




actually received and bought collateral.             What portion of

any of the potential loans the defendants intended to use

to buy collateral and what portion they intended as loss

are not clear from the evidence.               So determining what

amount of the potential loans would have been intended

loss would also be speculation.

    Third, it appears the defendants were never remotely

close to obtaining any of the other loans.                This is not

a situation like a police sting, where the defendant

essentially completes the transaction but imposing an

actual loss turns out to be impossible.                  C.f. USSG §

2B1.1 n. 3(A)(ii).      Instead, with regard to the potential

loans the defendants achieved only the very initial steps

of imposing a loss, and the court would need to speculate

about all the subsequent steps to reach a conclusion

about their intended loss.

    The court could make a series of guesses to answer

these questions, but that would not be a reasonable

estimate as the guidelines requires.                  The reasonable



                                   3
   Case 2:12-cr-00104-MHT-TFM Document 384 Filed 11/27/13 Page 4 of 6




approach to loss in this case is to use the actual loss

amount.


                               PART II

    The court has used the following calculation to reach

a reasonable estimate of the actual loss in this case:

ITEM                    AMOUNT (ROUNDED          NOTES
                        TO DOLLAR)
Loan funds              $68,500,000
disbursed
Proceeds from           ($26,363,486)
bonds
Proceeds from           ($15,141,262)            There was
real estate,                                     testimony that it
insurance, etc.                                  was debatable
                                                 whether several
                                                 of these items
                                                 should be
                                                 credited against
                                                 loss, but all of
                                                 them were
Legal/collection        $4,285,162               This figure
costs not                                        reflects total
attributable to                                  legal/collection
criminal case                                    costs minus
                                                 $100,000
                                                 attributable to
                                                 criminal case
TOTAL ACTUAL LOSS $31,280,414


                                   4
   Case 2:12-cr-00104-MHT-TFM Document 384 Filed 11/27/13 Page 5 of 6



                              PART III

    The court rejected the following proposed adjustments

to the actual loss amount:


ITEM                    AMOUNT (ROUNDED          NOTES
                        TO DOLLAR)
Purchase price of $36,000,000                    Proposed by Teers
bonds                                            in lieu of what
                                                 the bank sold
                                                 bonds for.
                                                 Rejected by
                                                 court. See USSG
                                                 § 2B1.1
                                                 n.3(E)(ii)
Additional amount $9,986,762                     Proposed by
bank could have                                  Teers. Rejected
gotten for bonds                                 by court. USSG
if “prudent” sale                                § 2B1.1
                                                 n.3(E)(ii)
Accrued interest        $7,859,147               Proposed by
as of 1/30/09                                    government.
                                                 Excluded by USSG
                                                 § 2B1.1 n.3(D)(i)
Legal costs             $100,000                 Proposed by
attributable to                                  government (as
criminal case                                    part of total
                                                 legal/collection
                                                 costs). Excluded
                                                 by USSG § 2B1.1
                                                 n.3(D)(ii)




                                   5
  Case 2:12-cr-00104-MHT-TFM Document 384 Filed 11/27/13 Page 6 of 6




Interest-only          $6,806,792               Proposed by Teers
payments made by                                and Mock.
H&H prior to                                    Rejected by
discovery of the                                court.
fraud
Loan origination       $450,000                 Proposed by Teers
fees                                            and Mock.
                                                Rejected by
                                                court.


                                ***

   DONE, this the 27th day of November, 2013.

                             /s/ Myron H. Thompson
                          UNITED STATES DISTRICT JUDGE
